          Case 1:15-cv-01393-RDM Document 9 Filed 12/28/15 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ANDREW YOUNG,

                Plaintiff,

        v.                                                Civil Action No. 15-01393 (RDM)

 MEDICREDIT, INC.,

                Defendants.


                                   ORDER OF DISMISSAL

       On October 12, 2015, this Court issued an order cautioning Plaintiff Young that if he did

not file a response to Defendant Medicredit’s Motion to Dismiss or, in the Alternative, for a

More Definitive Statement, Dkt. 7, on or before November 12, 2015, the Court could treat the

motion as conceded or issue an Order to Show Cause why the complaint should not be dismissed

for failure to prosecute, Dkt. 8. Having received no response from Plaintiff, the Court on

November 23, 2015, ordered Plaintiff to show cause on or before December 14, 2015, as to why

the Court should not dismiss his case in light of his failure timely to oppose Defendant’s motion.

November 23, 2015, Minute Order. To date, Plaintiff has not filed any response to Defendant’s

motion or to the Order to Show Cause. It is, accordingly, hereby ORDERED that this action is

DISMISSED for failure to prosecute. See Fed. R. Civ. P. 41(b); Link v. Wabash R.R. Co., 370

U.S. 626, 633 (1962).

       It is SO ORDERED.

                                                     /s/ Randolph D. Moss
                                                     RANDOLPH D. MOSS
                                                     United States District Judge
Date: December 28, 2015
